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SUNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA

CASE NO.
v.
KYLE ALAN MLYNAREK and MAGISTRATE NO. 1:23-MJ-25
RONALD MICHAEL BALHORN : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendants. : 18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct
in a Restricted Building or Grounds)
18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a
Restricted Building or Grounds with
a Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct
in a Restricted Building or Grounds
with a Deadly or Dangerous Weapon)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly or Disruptive Conduct in
the Capitol Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or
Picketing in a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, in the District of Columbia, RONALD MICHAEL

BALHORN and KYLE ALAN MLYNAREK committed and attempted to commit an act to
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obstruct, impede, and interfere with a law enforcement officer lawfully engaged in the lawful
performance of his/her official duties incident to and during the commission of a civil disorder
which in any way and degree obstructed, delayed, and adversely affected commerce and the
movement of any article and commodity in commerce and the conduct and performance of any
federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, in the District of Columbia, KYLE ALAN MLYNAREK
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, KYLE ALAN MLYNAREK
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
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COUNT FOUR

On or about January 6, 2021, in the District of Columbia, RONALD MICHAEL
BALHORN did knowingly enter and remain in a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was and would be temporarily visiting, without lawful authority
to do so, and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a stick or club.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and
(b)()(A))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, RONALD MICHAEL
BALHORN did knowingly, and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and disruptive conduct in and
within such proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, when and so that such conduct did in fact impede and
disrupt the orderly conduct of Government business and official functions, and, during and in
relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stick or club.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections
1752(a)(2) and (b)(1)(A))
COUNT SIX
On or about January 6, 2021, in the District of Columbia, RONALD MICHAEL

BALHORN and KYLE ALAN MLYNAREK willfully and knowingly engaged in disorderly

and disruptive conduct within the United States Capitol Grounds and in any of the Capitol

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Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of
Congress and either House of Congress, and the orderly conduct in that building of a hearing before
or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, RONALD MICHAEL
BALHORN and KYLE ALAN MLYNAREK willfully and knowingly paraded, demonstrated,
and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

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Attorney for the United States in
and for the District of Columbia
